                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


  JEREMIAH M., HANNAH M. and
  HUNTER M. by their next friend Lisa
  Nicolai; MARY B. and CONNOR B.               Case No. 3:22-cv-00129-JMK
  by their next friend Charles Ketcham;
  DAVID V., GEORGE V.,
  LAWRENCE V., KAREN V., and                  ORDER ON MOTION FOR
  DAMIEN V. by their next friend            EXPEDITED CONSIDERATION
  Michelle Caldwell; and RACHEL T.,         AND MOTION FOR EXTENSION
  ELEANOR T. and GAYLE T. by their            OF TIME TO RESPOND TO
  next friend Rebecca Fahnestock,             PLAINTIFFS’ COMPLAINT
  individually and on behalf of all other
  similarly situated,

                      Plaintiffs,

        vs.

  ADAM CRUM, Director, Alaska
  Department of Health and Social
  Services, in his official capacity; KIM
  GUAY, Director, Office of Children’s
  Services, in her official capacity;
  ALASKA DEPARTMENT OF
  HEALTH AND SOCIAL SERVICES;
  and ALASKA OFFICE OF
  CHILDREN’S SERVICES,

                      Defendants.



              Pending before the Court is Defendants Adam Crum, Kim Guay, the Alaska

Department of Health and Social Services, and Alaska Office of Children’s Services’



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(collectively, the “Defendants”) Motion for Expedited Consideration at Docket 9 (“Motion

to Expedite”). Defendants request expedited consideration of their underlying Motion for

an Extension of Time to Respond to Plaintiffs’ Complaint (“Motion for Extension of

Time”). 1 For the following reasons, the Court GRANTS Defendants’ Motion to Expedite

and also GRANTS Defendants’ underlying Motion for Extension of Time.

                                         I. BACKGROUND

                  The Complaint in this putative class action was filed on May 20, 2022. 2

According to Defendants, the summons and a listing of the parties were delivered to the

offices of Mr. Crum, Ms. Guay, and the Alaska Department of Law on May 25, 2022. 3

Defendants assert that service was defective under Federal Rule of Civil Procedure 4(j)(2)

because the May 25, 2022, deliveries did not include a copy of the Complaint. 4

                  In their Motion for Extension of Time, Defendants request a 45-day

extension of their deadline to file an Answer or Rule 12(b) motion. 5 Allowing an additional

45 days after the 21-day deadline imposed by the Federal Rules of Civil Procedure would

set Defendants’ new deadline to respond to the Complaint at 66 days after the date of

service. 6 Defendants seek expedited consideration of their Motion for Extension of Time,

arguing that if the Motion proceeds on a standard briefing schedule, briefing may not be

completed until the eve of their deadline to respond to the Complaint. 7

         1
             Docket 9-2.
         2
             Docket 1.
         3
             Docket 9-3 at 2.
         4
             Docket 9-2 at 3.
         5
             Id. at 5.
         6
             Id.; see also Fed. R. Civ. P. 12(a)(1).
         7
             Docket 9 at 3.

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                 “[I]n an attempt to avoid unnecessary motion practice” related to service of

process, Defendants’ counsel contacted Plaintiffs’ counsel on June 9, 2022, to inform

Plaintiffs of the defects in service. 8 Defendants’ counsel also requested additional time to

respond to the Complaint once service was properly effectuated. 9 On June 15, 2022,

Plaintiffs’ counsel confirmed with Defendants that Plaintiffs had failed to properly serve a

copy of the Complaint. 10 Plaintiffs’ counsel also stated that Plaintiffs would consent to

Defendants’ request for an extension of time only if Defendants agreed to produce Alaska

Office of Children’s Services (“OCS”) records for each of the named Plaintiffs “so the

parties could begin to work on a discovery plan.” 11 Defendants stated that they were not

in a position to agree to Plaintiffs’ request because “the production of OCS records for each

plaintiff requires a sequence of internal approvals, careful review (and potentially,

redaction), adherence to confidentiality and privilege protections, and multiple protective

orders issued by different courts.” 12 Defendants then filed their Motion for Extension of

Time and accompanying Motion to Expedite. 13

                                          II. DISCUSSION

A.      Motion to Expedite

                 Local Civil Rule 7.3(1)(A) provides that any motion for expedited

consideration must be supported by a declaration or affidavit “showing good cause for a


         8
             Docker 9-3 at 2.
         9
             Id.
        10
             Id.
        11
             Id.
        12
             Id. at 2–3.
        13
             See Docket 9.

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determination on expedited consideration, including any efforts to resolve the matter

between the parties . . . .” Defendants have satisfied these requirements. Defendants

submitted a Declaration of Counsel with their Motion to Expedite, which describes the

parties’ communications regarding the extension and indicates that a prompt decision from

this Court is needed to avoid running up against Defendants’ deadline to respond under the

Federal Rules of Civil Procedure. 14               Accordingly, the Court finds that expedited

consideration is proper here and issues this Order in advance of the June 24, 2022, decision

date requested by Defendants.

B.      Motion for Extension of Time

                 Federal Rule of Civil Procedure 6(b)(1)(A) provides that the court may

extend time for good cause “with or without motion or notice if the court acts, or if a request

is made, before the original time or its extension expires . . . .” “‘Good cause’ is a non-

rigorous standard.” 15 As such, requests for extensions of time made before the applicable

deadline has expired ordinarily should “be granted in the absence of bad faith on the part

of the party seeking relief or prejudice to the adverse party.” 16

                 Defendants filed their Motion for Extension well in advance of their deadline

to respond the Complaint. In fact, the parties appear to agree that service in this matter was

defective, meaning that the 21-day deadline under the Federal Rules of Civil Procedure has




        14
         See generally Docket 9-3.
        15
         Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1259 (9th Cir. 2010).
      16
         Id. (quoting 4B Charles Alan Wright & Arthur R. Miller, FEDERAL PRACTICE                    AND
PROCEDURE § 1165 (3d ed. 2004)).

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not yet been triggered. 17 Further, Defendants clearly have met the “non-rigorous” good

cause standard. Defendants assert they need additional time to respond to the Complaint

because (i) this case is factually complex and Defendants need time to investigate the

factual allegations related to the thirteen named Plaintiffs; (ii) this case involves

complicated questions of law; (iii) Plaintiffs request broad relief, including five declaratory

judgments and eighteen injunctions; (iv) the briefing of a potential motion to dismiss

implicates foundational and jurisdictional questions which will require significant attorney

time to research; (v) the Alaska Department of Health and Social Services recently was

split into two separate departments, which complicates Defendants’ counsel’s ability to

interact with client representatives; and (vi) Defendants’ counsel has several competing

upcoming court deadlines and appearances. 18 Together, these circumstances constitute

good cause for an extension and do not indicate that Defendants have acted in bad faith.

Moreover, there is no evidence that Plaintiffs will be prejudiced by allowing Defendants a

modest extension in this complex case. On the contrary, the Court and the parties will each

benefit from a complete and fulsome response to the Complaint.

                 Finally, the Court takes this opportunity to emphasize that it expects

meaningful cooperation between the parties throughout the pendency of this complex

litigation. Reasonable requests for extensions, such as this one, should be seriously




        17
          See Docket 9-3 at 2; see also Fed. R. Civ. P. 12(1)(A)(i) (providing that a defendant
must serve an answer “within 21 days after being served with the summons and complaint.”).
       18
          Docket 9-2 at 5–7.

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considered by the opposing party. Going forward, the Court anticipates that the parties

will work together to resolve issues as best they can prior to seeking judicial intervention. 19

                                        III. CONCLUSION

                 For the foregoing reasons, Defendants’ Motion to Expedite and Motion for

Extension of Time are GRANTED. Accordingly, IT IS ORDERED THAT:

                 1.      Plaintiffs shall file a Notice with this Court indicating when service

has been perfected.

                 2.      Defendants shall have 66 days from the date of service to answer or

otherwise respond to the Complaint.

                 IT IS SO ORDERED this 22nd day of June, 2022, at Anchorage, Alaska.


                                                                     /s/ Joshua M. Kindred
                                                                    JOSHUA M. KINDRED
                                                                   United States District Judge




        19
          See L. Civ. R. 1.1(c)(3) (“Parties and their lawyers must work cooperatively to achieve
the purposes of these rules.”).

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